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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

  TROY SMITH, individually and on
  behalf of all others similarly situated,
  BRENDAN C. HANEY, individually
  and on behalf of all others similarly
  situated, and GERALD E. REED IV,
  individually and on behalf of all others
  similarly situated,

          Plaintiffs,

  v.                                             Case No. 3:18-cv-01011-TJC-JRK

  COSTA DEL MAR, INC., a Florida
  Company,

          Defendant.


          VALLS’ REPLY IN SUPPORT OF MOTION FOR ATTORNEYS’
         FEES AND A CONDITIONAL OBJECTOR INCENTIVE AWARD

          Objector Austin A. Valls submits this reply in accordance with the Court’s

 December 6, 2021 order granting leave to file the same. Doc. 174.

       I. Valls transformed the settlement approval process into an adversarial one
          and his arguments contributed to the $4 million class benefit.

          Class counsel concede, as they must, that the law entitles objectors to their

 attorneys’ fees when they: (1) transform the proceedings into a truly adversarial

 process or (2) bestow a material benefit to the settlement class. See In re Domestic Air

 Transp. Antitrust Litig., 148 F.R.D. 297, 358 (N.D. Ga. Mar. 22, 1993) (providing for

 fees if the “presence of an objector represented by competent counsel transformed the

 settlement into truly adversarial proceedings”); In re Southwest Airlines Voucher Litig.,
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 898 F.3d 740 (7th Cir. 2018) (reversing denial of fees to objector who conferred

 benefit on the class). Valls did both.

       Before Valls objected, the court heard nothing but assurances from class

 counsel that their $12 million fee was authorized under Eleventh Circuit authority.

 There was no adversarial context because class counsel negotiated for Costa’s non-

 opposition to their fees as part of the settlement. When this Court called for briefing

 ahead of preliminary approval on whether this is a coupon settlement under CAFA,

 it thus received no counter to class counsels’ undisputed and self-serving assertion the

 vouchers for more Costa products are not coupons.

       Only after Valls submitted his twenty-four-page objection replete with relevant

 authority (Doc. 115), his thirteen-page response to class counsels’ supplement after

 class counsel modified their fee request in light of the objections (Doc. 144), and

 presented argument at the fairness hearing did this Court reduce fees by $4 million

 and insist that, given that not all class members will redeem the vouchers, the excess

 must actually reach the class. Further, only after considering the objections, did the

 Court acknowledge that CAFA’s application is “a close call.” Doc. 151 at 26. Thus,

 class counsels’ suggestion that Valls just “showed up” and did not create an

 adversarial context is refuted by the record (and their own subsequent actions).

 Indeed, the court recognized the adversarial benefit at the fairness hearing. See e.g.,

 Doc. 146 at 19, 22.

       Class counsel are simply mistaken that “[t]he Court rejected all of Objectors’

 arguments” and they are therefore not entitled to fees. Doc. 167 at 2. In fact, several
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 of Valls’ arguments were adopted by the Court. See Doc. 152 at 6-9 (listing

 arguments).1

       Although the Court did not adopt Valls’ argument to apply CAFA, its

 insistence that the $4 million reduction must have a concomitant $4 million class

 benefit follows Valls’ concerns argued throughout his briefing that (1) the vouchers

 do not necessarily disgorge the defendant of ill-gotten gains, and (2) not all class

 members will redeem the vouchers or receive any benefit. Doc. 115 at 1, 4, 15; Doc.

 144 at 1, 3-4; Doc. 146 at 26; Doc. 151 at 45 (court stating that it intends to “increase

 the value of the settlement to the class by $4 million” while recognizing that

 vouchers will not accomplish that end since “Costa will only pay a portion of the $4

 million because not all class members will redeem their vouchers”).2

       Valls also succeeded in his argument that the Court should not indulge class

 counsels’ expert Stefan Boedecker’s testimony attributing a $47-$58 million value to

 the injunctive relief in the settlement. Doc. 115 at 16, 22; Doc. 144 at 4. Valls

 suggested that this amount was clearly inflated, and that the Court should limit the

 value to no more than the $5 million described by Judge Thomas Scott. Id. The

 1
   Regardless, objectors who transform the settlement into a truly adversarial
 proceeding are entitled to fees attorneys’ fees even when their objections are
 “ultimately overruled[.]” Domestic Air, 148 F.R.D. at 358.
 2
  Valls argument was that “[w]hatever the actual redemption rates, they are certain to
 be less than 10%.” Doc. 115 at 4; Doc. 144 at 3-4. Valls substantiated that argument
 with an article, which class counsel were unable to refute, noting that redemption
 rates for consumer class actions generally fall within the range of “the annual
 corporate issued promotional coupon redemption rates of 1-3%.” Id. (citing James
 Tharin & Brian Blockovich, Coupons and the Class Action Fairness Act, 18 Geo. J.
 Legal Ethics 1443, 1445, 1448 (2005)).
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 Court agreed and added only $5 million to the common fund. Doc. 151 at 43. If the

 Court had included the $47-$58 million estimate, class counsel would have been

 entitled under the court’s analysis to the full $12 million since it would have fallen

 well below the 25% that the Court found reasonable. Id.

        Class counsel apply revisionist history in claiming that despite Valls’ advocacy

 against Boedecker’s valuation of injunctive relief, Valls provided no benefit because

 they had already discounted it. Doc. 167 at 10. To the contrary, they specifically

 relied on his testimony in support of their fee motion until after Valls’ objection

 demonstrated the injunctive relief is worth no more than $5 million. Doc. 109 at 10.

 Valls also contributed to this Court’s decision not to give Costa unfettered discretion

 in choice of beneficiaries, instead ruling that it “will require Court approval of any cy

 pres award.” Doc. 151 at 28; Doc. 115 at 23-24.

        Valls’ comprehensive arguments conveyed a $4 million benefit: he was the

 first among others to suggest fees were significantly exaggerated (which class counsel

 only acknowledged after the objection) and Valls was the only litigant to respond to

 class counsels’ supplement. Docs. 143, 144.3

     II. Valls seeks fees as a percentage of the benefit conveyed by his objection and
         for his fees to be funded from class counsels’ fees, all of which is supported
         by considerable authority.

        Class counsel misapprehend Valls’ motion. He does not claim to “have

 created a common fund[.]” Doc. 167 at 8. Valls petitioned for fees as a percentage of
 3
   Valls arguments were thus not merely duplicative. Doc. 167 at 2. To the extent
 other objectors made overlapping arguments, class counsel fail to explain how that
 diminishes Valls’ contributions or entitlement to fees.
                                            4
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 the $4 million benefit conveyed by his objection. Doc. 152 at 10. Class counsel are

 mistaken that there are “only a few cases” where a court has taken objector fees out

 of class counsels’ fee. Doc. 167 at 12. Courts across the nation have done so under

 similar circumstances when class counsel make an overreaching fee request like here.

 See Doc. 152 at 12 (listing seven examples). In response to Valls’ conditional

 incentive award request, class counsel also potentially mislead the court in claiming

 that courts do not allow “objectors to recover incentive” awards without providing

 citation to any countervailing authority in which numerous courts have, in fact,

 provided for such awards. See e.g., In re Easysaver Rewards Litig., No. 09-CV-02094-

 BAS-WVG, 2021 WL 230013, at *3-4 (S.D. Cal. Jan. 22, 2021); In re Apple Inc. Sec.

 Litig., No. 5:06-CV-05208-JF HRL, 2011 WL 1877988, at *5 (N.D. Cal. May 17,

 2011); Lonardo v. Travelers Indem. Co., 706 F. Supp. 2d 766, 817 (N.D. Ohio 2010), on

 reconsideration in part (July 21, 2010).

                                      CONCLUSION

        Valls finds nothing in class counsels’ reply diminishing his entitlement to

 attorneys’ fees in any respect and thus renews his request as stated therein with even

 greater confidence.




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        Respectfully submitted this 10th day of December, 2021.

                                       /s/ Robert W. Clore
                                       Robert W. Clore
                                       Email: rclore@bandaslawfirm.com
                                       Texas State Bar No. 24012436
                                       Mikell A. West
                                       Texas State Bar No. 24070832
                                       Email: mwest@bandaslawfirm.com
                                       BANDAS LAW FIRM, P.C.
                                       802 N. Carancahua, Suite 1400
                                       Corpus Christi, Texas 78418
                                       Tel: (361) 698-5200
                                       Pro hac vice

                                       Bradley Bodiford
                                       Fla. Bar No. 84897
                                       E-mail: bodiford@terrellhogan.com
                                       Terrell Hogan Yegelwel, P.A.
                                       233 East Bay Street, Suite 800
                                       Jacksonville, FL 32202
                                       Tel: (904) 632-2424
                                       Fax: (904) 632-0549
                                       Attorneys for Austin Valls


                              CERTIFICATE OF SERVICE

        The undersigned certifies that on December 10, 2021, he filed the foregoing

 document on CM/ECF which will send electronic notification to all attorneys

 registered for electronic filing.

                                              /s/ Robert W. Clore
                                              Robert W. Clore




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